            Case 07-10416-BLS          Doc 4349-1      Filed 01/09/08     Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re

NEW CENTURY TRS HOLDINGS,                        Chapter 11
INC., et al.,                                    Case No. 07-10416-KJC, et seq.

                       Debtors.


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 9, 2008, copies of the foregoing Motion for Relief

from Automatic Stay Under § 362 of the Bankruptcy Code, notice, and proposed order were

served via first-class mail, postage prepaid, upon the parties listed on the attached matrix.



Dated: January 9, 2008                         /s/ Adam Hiller
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           Case 07-10416-BLS    Doc 4349-1   Filed 01/09/08    Page 2 of 2




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